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                                        STATES DISTRICT COURT.APR 18 2022
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UNITED ST ATES OF AMERICA

vs.                                                       NO. 4:22-CR-00062 DPM

Johntae Anthony Henry

II ?/15:f of3                            °l lU 1- ?0'7)
                           WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO THE CUSTODIAL AUTHORITY at the Pulaski County Detention Facility and
TO THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF ARKANSAS:

GREETINGS:

            We command that you surrender the body of Johntae Anthony Henry detained in the
Pulaski County Detention Facility, Little Rock, Arkansas in your custody, under safe and secure
conduct, to the custody of the United States Marshal for the Eastern District of Arkansas, and the
said Marshal is directed to produce the body of the Defendant before this Court on March 24, 2022
at 2:00pm, before the Honorable J. Thomas Ray, and after the proceedings have been concluded,
that you return Johntae Anthony Henry to Pulaski County Detention Facility under safe and secure
conduct.
            IN WITNESS WHEREOF, I have set my hand and the seal of said court, this l O March
2022.




                                                                               STRATE JUDGE


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BY-~~~- D.c.
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I HEREBY CERTIFY AND RETURN THAT I HA VE EXECUTED
(IN PART) 11IE WITIIlN WRIT BY DELIVERING 11IE SAID:
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FROM                       TO
ON THIS DATE
DEPUTY SIGNATURE AND DISTRICT:


I HEREBY CERTIFY AND RETURN THAT I HA VE EXECUTED
(IN PART) THE WITIIlN WRIT BY DELIVERING THE SAID:
(NAME)                                  ,.


FROM                       TO                                 ..

ON THIS DATE
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